               IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

                     Case No. 1:20-cv-00815-NCT-JEP


  SHOMIAL AHMAD,              )
                              )
                   Plaintiff, )
                              )
  v.                          )                STIPULATION OF DISMISSAL
                              )                WITH PREJUDICE
                              )
  RICHARD M. BURR,            )
                              )
                   Defendant. )




      Pursuant to FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(ii), Plaintiff

Shomial Ahmad, by her counsel, and Defendant Richard M. Burr, by his counsel,

hereby stipulate to dismiss with prejudice all claims in the above-captioned matter,

with each side to bear their own costs and attorneys’ fees.


Dated: February 2, 2021                Respectfully submitted,


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                            RICHARD M. BURR




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                           CERTIFICATE OF SERVICE

      I hereby certify that on this day I electronically filed the above Stipulation of

Dismissal With Prejudice with the Clerk of Court using the CM/ECF system which

will automatically send e-mail notifications of such filing to all attorneys of record.



Dated: February 2, 2021



                                           s/ Alice S. Fisher
                                           Alice S. Fisher



                                           s/ John Walter Bryant
                                           John Walter Bryant, N.C. Bar No.
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